Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 1 of 50 PagelD 7

Case 16-2023-CA-009471-XXXX-MA

Department Circuit Civil | Division | CV-G
Case Status OPEN | File Date 7/11/2023
Judge Name SHARRIT, MICHAEL Officer
Private Attorney Kemp-Gerstel, Andrew
Parties
Party Type
Name / DOB / DL/ ID # Race / Sex Address
MICHAEL J, ROBERTS ure
CAPITAL ONE FINANCIAL CORP. —
Attorneys
Attorney | Address | For Parties

Kemp-Gerstel, Andrew 44 W Flagler St Ste 2500
Private Attorney (44332) Miami, FL33130-6808 CAPITAL ONE-FINANCTAL: CORR. (QEFENPANT)

SS ———————ja——qqjqao——qaoao——aaosS a oO TOTO TO aaa oo oo ao oaaaa_a_—wwoaePjwaaaaSsSaonmSSET

Fees
Date Description Assessed Paid Balance
07/11/2023 SUMMONS($10/ea) 6/17/2017 $10.00 $10.00 $0.00
07/11/2023 CIR/GENERALCIVIL 7/1/2019 $401.00 $401.00 $0.00
Dockets
Line / Effective 2
Document Count Entered Description Pages Image
Available
1 . 7/6/2023 . *
D2 7/11/2023 CASE FEES PAID: $411.00 ON RECEIPT NUMBER 4441549 4,
Public access
7/11/2023 .
2 7/11/2023 OTHER NEGLIGENCE - OTHER
Available
3 7/11/2023
D3 _ 7/11/2023 COVER SHEET 1
VOR, Ready to
view
Available
4 7/11/2023
D4 - 3/11/2023 COMPLAINT 1
VOR, Ready to
view
Available
2 -- | 7/11/2023 | cUuMMONS ISSUED TO CAPITAL ONE FINANCIAL CORP. 1 2
DS 7/11/2023 :
VOR, Ready to
view
Available
S -- | 7/11/2023 | oppeR SETTING CASE MANAGEMENT PLAN FOR NON-COMPLEX CASES 1
D6 7/11/2023
VOR, Ready to
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Available
oO -- noo SUMMONS RETURNED INDICATING SERVICE FOR CAPITOL ONE FINANCIAL CORP ON 07/14/2023 al,
Public access

Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 2 of 50 PagelD 8

Line / Effective beg
Document Count Entered Description Pages Image
Available
8 ___ | 7/27/2023 | NOTICE OF APPEARANCE OF COUNSEL ANDREW KEMP-GERSTEL FOR CAPITAL ONE FINANCIAL CORP. 1
D9 7/31/2023 | DESIGNATION OF EMAIL ADDRESS
Public access
Available
aré a a MOTION FOR EXTENSION OF TIME (DEFENDANT'S) TO FILE RESPONSE TO COMPLAINT 1
VOR, Ready to
view
Available
40 - | 8/3/2023 | RESPONSE (PLTFS) TO DEFTS MOTION FOR EXTENSION OF TIME TO FILE RESPONSE TO PLTF'S COMPLAINT 1
Dil . 8/4/2023 ( )
VOR, Ready to
view

Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 3 of 50 PagelD 9

RECEIPT
JODY PHILLIPS 4441549
CLERK OF THE CIRCUIT AND COUNTY COURTS Fhivied te:
JACKSONVILLE, DUVAL COUNTY, FLORIDA 07/11/2023 04:24
Page 1 of 1
Received of: ROBERTS, MICHAEL J.
3568 VALENCIA RD
Jacksonville, FL 32205
Cashier Name: Cc. Smith Balance Owed: 411.00
Cashier Location: Circuit Civil Total Amount Paid: 411.00
Receipt ID: 7810787 Remaining Balance: 0.00
Division: CV-G(Circuit Court)
Fees 411.00 411.00 0.00
Case Total 411.00 411.00 0.00

CREDIT 34897886 411.00
Total Received 411.00
Total Paid 411.00

The clerk of courts is here to help you.
We can be found online at: WWW.DUVALCLERK.COM
The main courthouse Location is: Clerk of the Circuit and County Courts
Duval County, Florida

501 West Adams Street
Jacksonville, Florida 32202

“The main telephone number is: 904-255-2000
Other Locations: Neptune Beach Courthouse Annex
1543 Atlantic Blvd

Neptune Beach, Florida 32266

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FORM 1.997. CIVIL COVER SHEET

The civil cover sheet and the information contained in it neither replace nor
supplement the filing and service of pleadings or other documents as required
by law. This form must be filed by the plaintiff or petitioner with the Clerk of
Court for the purpose of reporting uniform data pursuant to section 25.075,
Florida Statutes. (See instructions for completion.)

I. CASE STYLE

(Name of ee Cw fae

Plaintiff Case # 2023-CA- 947!
Judge CV-G
FILED

Vs.
Defendant aaa eed JUL 11 2023

II. AMOUNT OF CLAIM

Please indicate the estimated amount of the claim, rounded to the
nearest dollar. The estimated amount of the claim is requested for data
collection and clerical processing purposes only. The amount of the claim
shall not be used for any other purpose.
$8,000 or less
$8,001 - $30,000
$30, 001- $50,000

r $50,001- $75,000
| $75,001-$100,000
|_ over $100,000.00

Ill. TYPE OF CASE (Ifthe case fits more than one type of case,
select the most definitive category.) If the most descriptive label is a
subcategory (is indented under a broader category), place an x on both the
main category and subcategory lines.

CIRCUIT CIVIL

Florida Rules of Civil Procedure October 1, 2022
Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 5 of 50 PagelD 11

Condominium

Contracts and indebtedness

Eminent domain

Auto negligence

he neatigenceother

Business governance

Business torts

Environmental/Toxic tort

Third party indemnification

Construction defect

Mass tort

Negligent security

Nursing home negligence

Premises liability—commercial

Premises liability—residential

Products liability
(J Real property / Mortgage foreclosure

Commercial foreclosure

Homestead residential foreclosure

Non-homestead residential foreclosure

Other real property actions

Professional malpractice

Malpractice—business

Malpractice—medical

Malpractice—other professional

Florida Rules of Civil Procedure October 1, 2022
Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 6 of 50 PagelD 12

Other

Antitrust/Trade regulation

Business transactions

Constitutional challenge—statute or ordinance

Constitutional challenge—proposed amendment

Corporate trusts

Discrimination—employment or other

Insurance claims

Intellectual property

Libel/Slander

Shareholder derivative action

Securities litigation

Trade secrets

Trust litigation

COUNTY CIVIL

Civil

Real Property / Mortgage foreclosure

Replevins

Evictions

Residential Evictions

Non-residential Evictions

Other civil (non-monetary)

IV. REMEDIES SOUGHT (check all that apply):
Monetary;

Nonmonetary declaratory or injunctive relief;

Florida Rules of Civil Procedure October 1, 2022
Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 7 of 50 PagelD 13

ZA Punitive
Xx
V. NUMBER OF CAUSES OF ACTION: [ |
(Specify)

VI. IS THIS CASE A CLASS ACTION LAWSUIT?

yes

NX ne

VII. HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?

k | no

yes If “yes,” list all related cases by name, case number, and

court.

VIII. IS it . TRIAL DEMANDED IN COMPLAINT?

yes

no

IX. DOES THIS CASE INVOLVE ALLEGATIONS OF SEXUAL ABUSE?

yes

MJ no

X\

I CERTIFY that the information I have provided in this cover sheet is accurate
to the best of my knowledge and belief, and that I have read and will comply
with the requirements of Florida Rule of General Practice and Judicial
Administration 2,425.

Fla. Bar #
(Bar # if attorney)

2. “Qj B/S: /2?
/ 7

(type or print name) Date

Signature

Florida Rules of Civil Procedure October 1, 2022
“Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed OB eos POC GEA KARE) Kbiv: CV-G

IN THE CIRCUIT COURT, FOURTH
JUDICIAL CIRCUIT, IN AND FOR

DUVAL COUNTY, FLORIDA
CASE #
DIVISION:
MICHAEL J. ROBERTS,
Plaintiff,
. FILED
CAPITAL ONE FINANCIAL CORP, i JUL 11 2023
A Delaware Corporation, DUVAL CLERK OF COURT
Defendant.
COMPLAINT

NOW COMES the Plaintiff, MICHAEL J. ROBERTS, pro-se, and claims against
Defendant, CAPITAL ONE FINANCIAL CORP., violations of the Fair Credit Reporting Act,

15 U.S.C. §§ 1681(b), (n) & (0); Negligence and Invasion of Privacy.

i Plaintiff is a resident of the County of Duva, State of Florida,
2. Defendant is a financial institution incorporated in the State of Delaware and transacts

business in the County of Duval, State of Florida.

3. That the amount in controversy is does not exceed 96,000.00.

4. On or about February 17, 2023, Plaintiff received email notifications from multiple credit

monitoring services stating that Defendant had obtained Plaintiff’s personal consumer credit file
Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 9 of 50 PagelID 15

CASE #

causing a substantial decrease in his credit score. (A true and accurate copy of credit monitoring

emails and “hard” credit inquiry is attached hereto and made a part hereof as Exhibit 1).

5. On or about February 17, 2023, Plaintiff received an unsolicited email from Defendant
stating that Plaintiff has been approved for a Capital One Venture Rewards Card with a credit

limit of $50,000 (A true and accurate copy of said email is attached hereto as Exhibit 2).

6. Plaintiff does not have a financial relationship with Defendant. Plaintiff did not give any

type of authorization which would permit Defendant to obtain his personal consumer file.

a On February 17, 2023, Plaintiff telephoned Defendant (Feb. 17, 2023 @ 2:04pm) and

spoke to Daryl (1.D.4# VAN772) to report Defendant’s unauthorized hard credit inquiry, cancel
the unsolicited credit card and immediately remove the deragatoty information from Plaintiff's
credit file. Plaintiff was provided Application Reference No. 10000169853476 by Defendant to

reference when following up.

8. On February 17, 2023, Plaintiff filed a police report with the Jacksonville Sheriff
Department detailing the Defendant’s unauthorized access of his credit file. (Police Report #

23100940, Filed Feb. 17 @ 2:49pm)

9. On February 17, 2023, Plaintiff filed an incident report with the Federal Trade

Commision detailing Defendant’s unauthorized access of his credit file. (Report # 156507050).

10. On February 22, 2022, Plaintiff sent Defendant a demand letter via facsimile and
Certified Mail/Return Receipt giving them 10 days to remove the information from his credit
file. (A true and accurate copy of said letter and receipt confirmation is attached hereto as

Exhibit 3).
fl
|
|

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CASE #

11. Between February 22- May 4, 2023, Plaintiff contacted Defendant more than twenty
times in an effort to have the hard credit inquiry removed from his credit file and demanded any
documentation relied on by Defendant giving authorization to obtain his personal credit file.

Defendant has failed to respond to any of Plaintiff’s requests.

12. On May 4, 2023 Plaintiff sent Defendant notification detailing the numerous
communication efforts over multiple months trying to resolve this matter and that litigation was
imminent. (A true and accurate copy of said letter and receipt confirmation is attached hereto and

made a part hereof as Exhibit 4). Defendant did not respond.

13. Defendant obtained Plaintiff’s personal credit file without a permissible purpose and then
used the financial information contained in the report to self deal, issuing Plaintiff a Capital One

Venture Card with a $50,000 credit line.

14. Plaintiff incorporates by reference the preceding paragraphs as if fully set forth herein
and further states:
15. The Fair Credit Reporting Act codifies the circumstances in which a consumer credit file
can be obtained.
15 U.S.C.§ 1681a(d)(1).
A person shall not use or obtain a consumer report for any purpose unless:
(1) the consumer report is obtained for a purpose for which the consumer report is
authorized to be furnished under this section; and

(2) the purpose is certified in accordance with section 1681(e) of this title by a
prospective user of the report through a general or specific certification:

15 U.S.C.§ 1681(b)
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CASE #

(a) In general
Subject to subsection (c), any consumer reporting agency may furnish a consumer
report under the following circumstances and no other:

(1) In response to the order of a court having jurisdiction to issue such an order, a
subpoena issued in connection with proceedings before a Federal grand jury, or a
subpoena issued in accordance with section 5318 of title 31 or section 3486 of
title 18.

(2) In accordance with the written instructions of the consumer to whom it relates.
(3) To a person which it has reason to believe-

(A) intends to use the information in connection with a credit transaction
involving the consumer on whom the information is to be furnished and involving
the extension of credit to, or review or collection of an account of, the consumer;
or

(B) intends to use the information for employment purposes; or

(C) intends to use the information in connection with the underwriting of
insurance involving the consumer; or

(D) intends to use the information in connection with a determination of
the consumer's eligibility for a license or other benefit granted by a governmental
instrumentality required by law to consider an applicant's financial responsibility
or status; or

(E) intends to use the information, as a potential investor or servicer, or
current insurer, in connection with a valuation of, or an assessment of the credit or
prepayment risks associated with, an existing credit obligation; or

(F) otherwise has a legitimate business need for the information-

(i) in connection with a business transaction that is initiated by the
consumer; or

(ii) to review an account to determine whether the consumer
continues to meet the terms of the account.

16. Defendant obtained Plaintiff's consumer credit report despite the fact that;
e Defendant was not responding to a court order or subpoena;
e Plaintiff did not give Defendant any written instructions;
e Plaintiff did not have any collection accounts with Defendant to be reviewed;
e Plaintiff did not apply for employment with Defendant;
e Plaintiff did not require eligibility for a license from a governmental

instrumentality;
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CASE #

e Plaintiff has no investment accounts with Defendant nor does Plaintiff have any
privity with Defendant that would give rise to a financial risk analysis;
e Defendant had no legitimate business need for Plaintiff's credit file because
Plaintiff has not initiated any business transactions with Defendant nor does
Plaintiff have any accounts with Defendant for terms to be reviewed.
17. Defendant obtained Plaintiff's consumer credit file with the knowledge that no
permissible purpose existed .
18. Defendant has failed to produce any authorizing documents that would allow a
permissible purpose on which Plaintiff's credit report could be obtained.

19 Defendant has failed to timely remove the derogatory information from Plaintiff's credit

REPORT WITHOUT AUTHORIZATION OR PERMISSIBLE PURPOSE VIOLATING
1S ULS.C. § 16810

20. Plaintiff incorporates by reference the preceding paragraphs as if fully set forth herein
and further states:

21. 15 U.S.C. § 1681(n) addresses civil liability for willful noncompliance:

(a) In general

Any person who willfully fails to comply with any requirement
imposed under this subchapter with respect to any consumer is liable to that
consumer in an amount equal to the sum of-

1.(A) any actual damages sustained by the consumer as a result
of the failure or damages of not less than $100 and not more than
$1,000; or (B) in the case of liability of a natural person for obtaining a
consumer report under false pretenses or knowingly without a
permissible purpose, actual damages sustained by the consumer as a
result of the failure or $1,000, whichever is greater;
Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 13 of 50 PagelD 19

CASE #
2. such amount of punitive damages as the court may allow;
and
3 in the case of any successful action to enforce any

liability under this section, the costs of the action together with
reasonable attorney's fees as determined by the court.

(b) Civil liability for knowing noncompliance

Any person who obtains a consumer report from a consumer reporting
agency under false pretenses or knowingly without a permissible purpose shall
be liable to the consumer reporting agency for actual damages sustained by the
consumer reporting agency or $1,000, whichever is greater.

22. Defendant knowingly obtained Plaintiff’s personal consumer credit file without a
permissible purpose and then used Plaintiff’s private financial information contained in the
report to issue a credit card owned by Defendant with a $50,000 credit limit.

23. Plaintiff is entitled to statutory damages of not less than $100 and not more than $1,000
for each and every one of these violations, pursuant to 15 U.S.C. § 1681 n(a)(1)(A).

24.  Defendant’s self dealing actions in knowingly obtaining Plaintiff's consumer credit file
without a permissible purpose, issuing a unsolicited credit card with a $50,000 credit limit then
ignoring multiple requests to resolve the matter are the very reason punitive damages were
created. Thus, Plaintiff is entitled to punitive damages for these violations, pursuant to 15 U.S.C.

§ 1681n(a)(2).

25. Plaintiff incorporates by reference the preceding paragraphs as if fully set forth herein

and further states.
‘Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 14 of 50 PagelD 20

CASE #

26. Asa financial institution operating under the laws of numerous governmental regulatory
agencies, Defendant owes a duty to Plaintiff (and the public) not to obtain a consumer credit file
without a permissible purpose.
27. Defendant breached said duty by obtaining Plaintiff’s personal credit report without any
permissible purpose causing Plaintiff’s FICA score to decrease substantially and then failed to
correct Plaintiff's credit file in a timely manner.
28. Defendant has also breached its duty to Plaintiff by using the private financial
information contained in the consumer credit file to self deal, issuing Plaintiff a credit card
owned by Defendant containing a $50,000 credit limit.

29. Defendant’s breach is the proximate cause of financial and emotional damages suffered
by Plaintiff.

30. 15 U.S.C § 1681(0) provides:

Any person who is negligent in failing to comply with any requirement imposed
under this subchapter with respect to any consumer is liable to that consumer in
an amount equal to the sum of—
1. any actual damages sustained by the consumer as a result of the
failure; and
2. in the case of any successful action to enforce any liability under
this section, the costs of the action together with reasonable
attorney’s fees as determined by the court.

31. Plaintiff has suffered damages from Defendant’s breach of duty and requests damages

statutorily commensurate damages.

COUNT IV
NEGLIGENCE

32. Plaintiff incorporates by reference the preceding paragraphs as if fully set forth herein

and further states:
"Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 15 of 50 PagelD 21

CASE #

33. Asa financial institution operating under numerous governmental regulatory agencies,
Defendant owes a duty to Plaintiff (and the public) not to obtain personal financial information
without a permissible purpose.

34. Defendant breached their duty to Plaintiff by not only obtaining his personal consumer
credit file without a permissible purpose but then used the illegally obtained financial
information contained in Plaintiff’s credit report to self deal, issuing Plaintiff a credit card with a
$50,000 credit limit.

35.  Defendant’s breach of duty has caused Plaintiff great financial harm resulting in a severe
reduction in his credit score as well as countless hours in trying to correct the information on his
credit file. Plaintiff also suffers from a severe health condition which has been exacerbated by
Defendant’s actions, both emotionally and physically.

36.  Defendant’s actions in knowingly obtaining Plaintiff’s credit report without a permissible
purpose and then using that information to self deal are the very actions that punitive damages
were intended.

37. Plaintiff requests the maximum jurisdictional amount plus punitive damages.

COUNT V
V: OF P /IN UPON SE ION

38. Plaintiff incorporates by reference the preceding paragraphs as if fully set forth herein,
and further states:

39, Defendant intentionally intruded upon Plaintiff’s solitude and invaded Plaintiffs privacy
by knowingly obtaining Plaintiff's personal consumer credit without a permissible purpose.
Defendant then used Plaintiff's private financial information to self deal, issuing Plaintiff a credit

card with a $50,000 limit..
‘Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 16 of 50 PagelD 22

CASE #

40. Because Plaintiff did not initiate any business transaction or have any financial
relationship with Defendant, a reasonable expectation of privacy exists that Plaintiff’s personal
financial and medical information would be free from Defendant’s intrusion.

41. Defendant obtaining Plaintiff’s private consumer credit file without authorization or
purpose then using the information for their own financial gain should be regarded as highly
offensive by any reasonable person. Plaintiff’s personal credit file contains private financial and
medical information that Plaintiff expects would be under his control. Access to this information
without Plaintiff’s consent shocks the conscience of any reasonable person.

42.  Defendant’s intrusion of Plaintiff's private consumer credit file without a permissible
purpose caused Plaintiff's credit score to decrease thereby resulting in financial harm. Plaintiff
also suffers from a severe health condition which has been exacerbated by Defendant’s actions
both emotionally and physically.

43. Plaintiff seeks to recover actual and punitive damages for Defendant’s invasion of
privacy.

44.  Defendant’s actions in obtaining Plaintiff’s personal credit file without a permissible
purpose and then using the information contained in the file to self deal shock the conscious.

Therefore Plaintiff should be entitled both actual and punitive damages.

\
‘Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 17 of 50 PagelD 23

CASE #

PRAYER FOR RELIEF:
WHEREFORE, Plaintiff requests damages from Defendant in the maximum amount allowed by
jurisdiction and statute. Plaintiff also prays for punitive damages and any other amount this court

deems priate.

J ROBERTS
laintiff, pro-se

3568 Valencia Rd.
Jacksonville, Florida, 32205
(312) 687-6771

VERIFICATION

Under penalties of perjury, I declare that I have read the foregoing, and the facts alleged are true,

to the best of my knowledge and belief.

MI JROBERTS . July 11, 2023
3568 Valencia Rd.

Jacksonville, Florida, 32205

(312) 687-6771

Te evienooa Yael cory

10
‘Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 18 of 50 PagelID 24

EXHIBIT 1
" Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 19 of 50 PagelD 25

mM Gmail Michael J Roberts
Your credit rating suffered recently, Michael
1 message
WalletHub <no-reply@waillethub.com> Fri, Feb 17, 2023 at 1:06 PM

Reolv-To: WalletHub <no-reply@wallethub.com>

Hey Michael,

Unfortunately, your credit score went
down by 10+ points and you moved to a
lower credit level.

Check My Latest Score
" Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 20 of 50 PagelD 26

m Gmail Michael J Roberts

Your credit file has been updated

1 message

Experian Alerts <support@s.usa.experian.com> Fri, Feb 17, 2023 at 1:33 PM
Reply-To: Experian <reply-fe8111727c610d7a7c-14235_HTML-1274065777-7327132-33277@e.usa.experian.com>

8. .
. experian. Membership ID# 10016879714345 Sign In
s

Michael, please review your alert

Credit file inquiry

There's been a change to your Experian® credit file.

Soa details

Don't forget

If something looks incorrect on your Experian credit file,
dispute it in our Dispute Center and we'll review it.
Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 21 of 50 PagelD 27

El Claaitin) Tn ee On Cot one a cr cL che rel Tena ae Te] Neate]

Dashboard @ Offers Credit Analysis Debt Payot Credt Report WalletScore

Additional Details —

e WalletFitness Tasks

43 Confirm New Inquiry
; Capita! One requested your credit report on Feb 17, 2023

CREDIHOR INFO CAPITAL ONE = CREDITOR TYPE Bank Credit Cards
15000 CAPITAL ONE
RICHMOND, VA 23238
{800} 955/070

Please Confirm This Info Is Accurate

Confiens

Sorry to hear that. Here's what to do next:

Wf you dont recagnize ths credit inquiry, we iecommend contacting Capital One for more details Umecognized mquines an your creat

file coutd be an indicator of sents, tect,

Wf you want to dispute this credit inquiry, you can cas ly \ sobt. And if you're not quite sure wal that entails, WailetHub’s ©) «4!
Mout fasonte Ge can fll you in

Finally, if you believe you may be a victim of :dentity theft, we recommend taking | tess oid! ort ~ oto keep your finances safe

Hide Details -
" Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 22 of 50 PagelD 28

EXHIBIT 2
‘Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 23 of 50 PagelD 29

Peay Gmail Michael J Roberts: .

Michael, you're approved for a Venture Rewards card

1 message

Capital One <capitalone@notification.capitalone.com> Fri, Feb 17, 2023 at 1:02 PM

To: mjrchicago@gmail.com

Sign in

Congratulations,
Michael!!

You’ve got a lot to look forward to.

Here are your account details:

2X $50000 25.24%

miles per dollar credit limit variable APR
on all purchases available to you on purchases
PLUS

Earn 75,000 bonus miles once you spend
$4,000 on purchases within the first 3 months
” Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 24 of 50 PagelD 30

EXHIBIT 3
"Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 25 of 50 PagelD 31

MICHAEL J. ROBERTS, ESQ.
3568 Valencia Rd.

Jacksonville, Fl. 32205
(312) 687-6771

February 22, 2023

Capital One

Identity Theft Dept.

P.O. Box 30285

Salt Lake City, UT 84130

Via Certified Mail/Retum Receipt Requested & Facsimile: (866)509-3902

Capital One Bank, NA

Legal Dept./Matthew Cooper, Esq

1680 Capital One Dr.

McLean, VA 22102

Via Certified Mail/Retum Receipt Requested Via Facsimile: (888) 203-2114

Re: Fraudulent Application/Approval Capital One Venture Card
(Application Reference No. 10000169853476)
Last Four Digits of MJR Social Security #7724

Dear Identity Theft Agent:

This letter is to document the following regarding a fraudulent application and issuance
of a Capital One Venture Card and the mitigating steps taken.

1. On Friday, February 17, 2023 | received email notices from the various credit reporting
agencies that there had been a drop in my credit score followed by a new credit card
appearing in my credit file. The credit reports documented the inquiry was from Capital
One and the credit card was a Capital One Venture Card.

2. Atno time have | applied for a Capital One Credit Card.

3. Contemporaneously, | received an email from Capital One congratulating me for being
accepted for a Venture Card. (A true and accurate copy of said email is attached hereto.)

4. |immediately called Capital One (Feb. 17, 2023 @ 2:04pm) and spoke to Daryl (|.D.#
VAN772) to report the fraudulent activity. Daryl stated that she found the account and
was reporting it to the fraud department and instructed me to file a police report.

5. | then filed a police report with the Jacksonville Sheriff Dept., in Jacksonville, Florida.
(Police Report # 23100940, Filed Feb. 17 @ 2:49pm)

6. Additionally, on February 17, 2023, | filed an Identity Theft Report with the Federal
Trade Commision (Report # 156507050).
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EXHIBIT 4
" Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 27 of 50 PagelD 33

mM Gmail Michael J Roberts <lawyermjr@gmail.com>
TheFreeFax Transmission Successful to Capital One - 1 888-435-4215

1 message

SRFax Delivery Notification <fax@srfax.com> Thu, May 4, 2023 at 4:46 PM

Reply-To: no-reply@srfax.com
To: fawyermjr@gmail.com

Transmission Status: Sent

Sender: 000-000-0000 (lawyermjr@gmail.com)
Fax Sent: May 04/23 01:42 PM

To Fax Number: 1 888-435-4215

Remote Fax ID: 888-435-4215

# of Pages Sent: 2 of 2 (Call Length: 2:17)

Ref. Code:

Get your own private fax number for as little as $3.29 a month.
Sign up today! http:/Avww.srfax.com/TheFreeFaxOffer. php

#7} 20230504134126-2753_03.pdf
140K
May 4, 2023

Capital One

Identity Theft Dept.

P.O. Box 30285

Salt Lake City, UT 84130

Via Certified Mail/Return Receipt Requested & Facsimile: (888)435-4215

Re: Feb. 17,2023 impermissible Credit inquiry/Fraudulent Application Approval
Capital One Venture Card (Application Reference No. 10000169853476)
Last Four Digits of MJR Social Security #7724

Dear Capital One Agent:

This notice shall serve as follow-up correspondence to my certified letter dated February
22, 2023.

As of the date of this letter, Capital One’s February 17, 2023 impermissible/unauthorized
hard inquiry of my credit file has not yet been removed despite numerous assurances that your
department notified the three reporting bureaus to delete the inquiry on or about February 27,
2023.

Also, on or about February 27, 2023, your representative stated that | would be receiving
a confirmation letter regarding Capital One's actions to remove the fraudulent credit inquiry from
my file, but again, that has not happened.

Moreover, today | spoke to agents at TransUnion, Equifax and Experian and each
confirmed that no such information has been received from Capital One to remove the
unauthorized inquiry of February 17, 2023.

| have been more than patient in trying to resolve this matter amicably but to no avail.
Because of Capital One's flagrant violation of 15 USC 1681, in which my credit file was
accessed without a permissible purpose on February 17, 2023, | am filing a lawsuit against
Capital One for damages under the FCRA in the United States District Court, Middle District of
Florida. The summons and complaint are addressed to the registered agent, Corporation
Service Company, 1201 Hays Street, Tallahassee, Fl 32301-2525.

Respectfully,
Michael. Roberts

Michael J. Roberts
Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 29 of 50 PagelD 35

IN THE FOURTH JUDICIAL CIRCUIT COURT,
IN AND FOR DUVAL COUNTY, FLORIDA

MICAHEL J. ROBERTS

Plaintiff, Case No. 2023-CA- %47\
CAPITAL ONE FINANCIAL CORP,

V. Registered Agent: Division: CV-G

1201 Hays St.,
Tallahassee, FL, 32301-2525

Defendant

SUMMONS
THE STATE OF FLORIDA:

To Each Sheriff of the State:

YOU ARE COMMANDED to service this summons and a copy of the complaint or

petition in this action on the defendant Capital One Financial Corp. via Registered Agent
Corporation Service Company, 1201 Hays St., Tallahassee, Fl. 32301-2525 name and address].

DATED on __July 11°, 2023

“~~ ¢ antl

@ (sua Ps
As Clerk of the Court

By:

As Depu erk

A lawsuit has been filed against you. You have 20 calendar days after this summons is
served on you to file a written response to the attached Complaint in this Court. A phone call will
not protect you; your written response, including the above case number and named parties, must
be filed if you want the Court to hear your case. If you do not file your response on time, you
may lose the case, and your wages, money, and property may thereafter be taken without further
warning from the Court. There are other legal requirements. You may want to call an attorney
Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 30 of 50 PagelD 36

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right away. If you do not know an attorney, you may call an attorney referral service or a legal
aid office (listed in the phone book).

If you choose to file a written response yourself at the same time you file your written
response to the Court, you must also mail or take a carbon copy or photocopy of your written
response to the "Plaintiff/Plaintiff's Attorney".

If you are a person with a disability who needs any accommodation in
order to participate in this proceeding, you are entitled, at no cost to you, to
the provision of certain assistance. Please contact the ADA Coordinator,
Telephone (904) 255-1695, Email crtintrp@coj-net, at least 7 days before your
scheduled court appearance, or immediately upon receiving this notification if
the time before the scheduled appearance is less than 7 days; if you are
hearing or voice impaired, call 711.

IMPORTANTE
Usted ha sido demandado legalmente. Tiene veinte (20) dias, contados a partir del recibo

de esta notificacion, para contestar la llamada telefonica no lo protegera; si usted desea que el
tribunal incluyendo el numero del caso y las partes interesadas en dicho caso. Si usted no
contesta la demanda a tiempo, pudiese perder el caso y podria ser despojado de sus ingresos y
propiedades, o privado de sus derechos, sin previo eviso del tribunal. Existen otros requistitos
legales. Si lo desea, puede abogado, puede Ilamar a una de las oficinas de asistencia legal que
aparencen en la guia telefonica.

Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su
respuesta ante el tribunal, debera usted enviar por correo o entregar una copia de su respuesta a la
persona denominada abajo como "Plaintiff/Plaintiff's Attorney" (Demandate o Abogado del
Demanadante).

Si usted es una persona minusvalida que necesita algin acomodamiento
para poder participar en este procedimiento, usted tiene derecho, sin tener
gastos propios, a que se le provea cierta ayuda. Tenga la amabilidad de
ponerse en contacto con ADA Coordinator, Teléfonos (904) 255-1695, Correo
electrénico crtintrp@coj.net, por lo menos 7 dias antes de la cita fijada para
su comparecencia en los tribunales, o inmediatamente después de recibir esta
notificacién si el tiempo antes de la comparecencia que se ha programado es
Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 31 of 50 PagelD 37

menos de 7 dias; si usted tiene discapacitacién del oido o de la voz, llame al
711.
IMPORTANT

Des poursuites judiciaries ont eta entreprises contre vous. Vous avez 20 jours consecutifs
a partir de la date de l'assignation de cette citation pour deposer une reponse ecrita a la plainte ci-
jointe aupres de ce Tribunal. Un simple coup de le telphone est insuffisant pour vous proteger;
vous etes oblige de deposer votre reponse ecrite, evec mention du numero de dossier ci-dessus et
du nom des parties nommees ici, si vous souhaitez que le Tribunal entende votre cause. Si vous
ne deposez pas votre reponse ecrite dans le relai requis, vous risquez de perdre la cause ainsi que
votre salaire, votre argent, et vos biens peuvent etre saisis par la uite, sans aucun preavis ulterieur
du Tribunal. II y a d'autres obligations juidiques et vour pouvez requerir les services immediats
d'un avocat. Si your ne connaissez pas d'avocat, yous pourriez telephoner a un service de
reference d'avacoats ou a un bureau d'assistance juridique (figurant a l'annuaire de telephones).

Si vous choisissez de deposer vous-meme une reponse ecrite, il yous faudra egalement,
en meme temps que cette formalite, faire parvenir ou expedier une copie au carbone ou une
photocipie de votre reponse ecrite au "Plaintiff/Plaintiff's Attorney". (Plaignant ou a son avocat)
namme ci-dessous.

“Si vous étes une personne handicapée qui a besoin d’accommodement
pour pouvoir participer a cette procédure, vous avez le droit, sans aucun coiit,
d’avoir de l’aide 4 votre disposition. S’il vous plait contacter ADA
Coordinator, Téléphone (904) 255-1695, Email crtintrp@coj.net, au moins
sept (7) jours avant la date de comparution au tribunal, oubien
immédiatement aprés avoir re¢u cet avis si la date avant la comparution est
moins de sept (7) jours; si vous avez une incapacité pour entendre ou parler,
appelez le 711.”

MICHAEL J. ROBERTS
Plaintiff/Plaintiff’s Attorney

3568 VALENCIA RD.
JACKSONVILLE, FL. 32205

Address

Florida Bar No.

Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 32 of 50 PagelD 38

IN THE CIRCUIT COURT OF
THE FOURTH JUDICIAL CIRCUIT, IN
AND FOR DUVAL COUNTY FLORIDA

MICHAEL J. ROBERTS CASE NO.: 16-2023-CA-009471-XXXX-MA
Plaintiff(s)
v. DIVISION: CV-G (CIRCUIT COURT)
CAPITAL ONE FINANCIAL CORP.
Defendant(s).

/

CORRECTED AMENDED ORDER SETTING CASE MANAGEMENT PLAN
FOR NON-COMPLEX CASES

This civil action comes before the Court upon Plaintiff filing a complaint. The Court now
establishes a Case Management Plan as set forth below. If a case is declared complex, the parties
shall follow the procedures in Florida Rule of Civil Procedure 1.201, rather than this Case
Management Plan.

DEADLINE OR EVENT DATE

Deadline for Service of Process 120 days

Within 60 days of filing the motion/objection or, if
Motions to Dismiss, Motion for More Definite | such motion/objection was previously filed, within
Statement, Motions to Strike and any 60 days of date of entry of this Order approving this
objections to the pleadings Case Management Plan, counsel must schedule
with the Court’s Judicial Assistant a hearing on the
motion/objection. Failure to do so will result in the
motion/objection being deemed abandoned and
denied. Non-movant shall timely submit a
proposed order if the motion/objection is deemed
abandoned and denied.

Plaintiff must and any party may file a notice that
the action is at issue and ready to be set for trial
Notice for Trial pursuant to Florida Rule of Civil Procedure 1.440
(b) and any party filing a notice for trial shall also
submit to the Court a completed Trial Set
Memorandum within ten (10) days from the date
the case is at issue as defined by Rule 1.440(a).
Each civil division’s Trial Set Memorandum and
any other procedures for setting trials are posted on
the Fourth Judicial Circuit’s website: jud4.org.

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It is ORDERED:

1. COMPLIANCE WITH THIS CASE MANAGEMENT PLAN: The parties shall
strictly comply with the terms of this Case Management Plan, unless otherwise ordered
by the Court. Failure to comply with all requirements of this order may result in the
imposition of sanctions, including dismissal of the case.

2. ADDITIONAL FOURTH CIRCUIT AND DIVISION SPECIFIC GUIDELINES:
All counsel and unrepresented parties shall familiarize themselves and comply with the
requirements of the Fourth Judicial Circuit’s Second Amended Administrative Order
2023-05, In Re: Civil Case Management and Resolution in Circuit Court of Non-
Complex Cases, found at jud4.org, and any division-specific guidelines that may apply.

3. MODIFICATION OF THIS ORDER: The parties may not, individually or by
agreement, alter or extend the deadlines in this Order, or waive any of the provisions
of this Order. The provisions of this Order may be modified only upon
motion/stipulation and Court order, according to applicable law.

4. NOTICE FOR TRIAL: Plaintiff shall and any party may file a notice that the action
is at issue and ready to be set for trial pursuant to Florida Rule of Civil Procedure
1.440(b) and submit to the Court a completed Trial Set Memorandum no later than ten
(10) days after the date the case is at issue as defined by Florida Rule of Civil Procedure
1.440(a) to schedule the case for trial pursuant to the division’s procedures.

5. DISCOVERY: All counsel and unrepresented parties shall familiarize themselves
with the current edition of the Florida Handbook on Civil Discovery Practice and seek
to resolve discovery issues without Court intervention whenever possible.

6. SERVICE OF THIS ORDER: When serving the Complaint on a party, Plaintiff must
also serve a copy of this Order Setting Case Management Plan for Non-Complex Cases
on that party. Plaintiff shall file a Certificate of Service of this Order within ten (10)
days of service.

DONE at Jacksonville, Duval County, Florida, on 11th of July, 2023.

CIRCUIT JUDGE

If you are a person with a disability who needs any accommodation to participate in this proceeding, you
are entitled, at no cost to you, to the provision of certain assistance. Please contact the ADA Coordinator,
at least seven (7) days before your scheduled court appearance orimmediately uponreceiving this notice if
thetime before the scheduled appearance is less than seven (7) days. If you are hearing or voice
impaired, call 711.

ADA Coordinator: Debra Marchant, Human Resources Manager, Duval County Courthouse, 501
W. Adams Street, Jacksonville, FL 32202. (904) 255-1695.
Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 34 of 50 PagelD 40

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RETURN OF SERVICE

SHERIFF NUMBER: 2300973 1

PARTY TO BE SERVED ATTORNEY / PETITIONER
CAPITAL ONE FINANCIAL CORP. MICHAEL J ROBERTS
1201 HAYS STREET 3568 VALENCIA RD
TALLAHASSEE, FL 32301 JACKSONVILLE, FL 32205 F ] L E D
JUL 2 1 2023
PLAINTIFF: MICHAEL J ROBERTS DUVAL CLERK OF COURT
-VS-

DEFENDANT: CAPITAL ONE FINANCIAL CORP.
TYPE OF WRIT: SUMMONS, COMPLAINT

COURT: CIRCUIT /DUVAL COURT DATE:
CASE #: 2023CA9471 COURT TIME:

Received the above-named writ on July 13, 2023, at 4:43 PM, and SERVED the same on the 14th day of July 2023,
at 9:00 AM. Service was completed at 1201 HAYS STREET TALLAHASSEE, FL 32301 in LEON County,
Florida, as follows:

CORPORATE

By delivering a true copy of this writ together with a copy of the initial pleadings, if any, with the date and hour of
service endorsed thereon by me to wit: Sheena Black as registered agent of the within named corporation according
to Chapter 48.081 (3) and 48.091, Florida Statutes.

SERVICE COST: $40.00 WALT MCNEIL, SHERIFF
hilll, CIVIL CLERK LEON COUNTY, FLORIDA

COURT: “TS \So\

BY:
DUVAL COUNTY CLERK OF COURT
SUITE 2338 Process Server Tracie Baker, Badge # 1501

JACKSONVILLE, FL 32202

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IN THE FOURTH JUDICIAL CIRCUIT COURT,
IN AND FOR DUVAL COUNTY, FLORIDA

MICAHEL J. ROBERTS

Plaintiff, Case No... 2023-CA- C47 |
__ CAPITAL ONE FINANCIAL CORP., os
V. Registered Agent: Division: CV-G
Corporation Service Company
1201 Hays St.,
Tallahassee, FL, 32301-2525 .
Defendant

: SUMMONS se DAY OF
THE STATE OF FLORIDA:

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To Each Sheriff of the State:

YOU ARE COMMANDED to service this summons and a copy of the complaint or

petition in this action on the defendant _Capital One Financial Corp. via Registered Agent
Corporation Service Company, 1201 Hays St., Tallahassee, Fl. 32301-2525 name and address].

Jeny [euurp ©
As Clerk of the Court

By:
As DeputyClerk

DATED on _ July 11°, 2023

A lawsuit has been filed against you. You have 20 calendar days after this summons is
served on you to file a written response to the attached Complaint in this Court. A phone call will
not protect you; your written response, including the above case number and named parties, must
be filed if you want the Court to hear your case. If you do not file your response on time, you

_ may lose the case, and your wages, money, and property may thereafter be taken without further
warning -from the Court. There are other legal requirements. You may want to call an attorney

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Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 36 of 50 PagelD 42

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menos de 7 dias; si usted tiene discapacitacién del oido o de la voz, lame al
711.
IMPORTANT
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a partir de la date de I'assignation de cette citation pour deposer une-reponse ecrita a la plainte ci-
jointe aupres de ce Tribunal. Un simple coup de le telphone est insuffisant pour vous proteger;
vous etes oblige de deposer votre reponse ecrite, evec mention du numero de dossier ci-dessus et
du nom des parties nommees ici, si vous souhaitez que le Tribunal entende votre cause. Si vous
ne deposez pas votre reponse ecrite dans le relai requis, vous risquez de perdre la cause ainsi que
votte salaire, votre argent, et vos biens peuvent etre saisis par la uite, sans aucun preavis ulterieur
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Coordinator, Téléphone (904) 255-1695, Email crtintrp@coj.net, au moins
sept (7) jours avant la date de comparution au tribunal, oubien
immédiatement aprés avoir recu cet avis si la date avant la comparution est
moins de sept (7) jours; si vous avez une incapacité pour entendre ou parler,
appelez le 711.”

MICHAEL J. ROBERTS
Plaintiff/Plaintiff’s Attorney

3568 VALENCIA RD.
JACKSONVILLE, FL. 32205

Address

Florida Bar No.

Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 40 of 50 PagelD 46

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IN THE CIRCUIT COURT OF THE
FOURTH JUDICIAL CIRCUIT IN AND FOR
DUVAL COUNTY, FLORIDA

MICHAEL J. ROBERTS, CASE NO.: 16-2023-CA-009471-XXXX-MA
DIVISION: CV-G
Plaintiff(s),
v.

CAPITAL ONE FINANCIAL CORP.,

Defendant(s).
/

NOTICE OF APPEARANCE AS COUNSEL
AND DESIGNATION OF EMAIL ADDRESS

PLEASE TAKE NOTICE that ANDREW KEMP-GERSTEL, Esq., MICHAEL D.
STARKS, Esq., and STEFANI R. ERAZO, Esq., of the law firm, LIEBLER, GONZALEZ &
PORTUONDO, hereby enters their appearance as counsel for Defendant, CAPITAL ONE, N.A.,
improperly named as “CAPITAL ONE FINANCIAL CORP.” (“Defendant”) in these proceedings.
All parties are requested to take notice of the appearance of undersigned counsel and to serve all
copies of any and all motions, orders, pleadings, papers, reports, and/or documents of any kind or
nature upon the undersigned counsel.

Pursuant to Florida Rule of Judicial Administration 2.516(b)(1)(A), Defendant hereby
gives notice of the primary and secondary e-mail addresses of its counsel as follows:

Counsel’s name: Andrew Kemp-Gerstel, Esquire

Primary e-mail address: akg@|gplaw.com; mkv@lgplaw.com
Secondary e-mail addresses: service@lgplaw.com

Counsel’s name: Michael D. Starks, Esquire
Primary e-mail address: mds2@|gplaw.com; sck@lgplaw.com
Secondary e-mail addresses: service@|lgplaw.com

Counsel’s name: Stefani R. Erazo, Esquire
Primary e-mail address: sre@|gplaw.com; sck@lgplaw.com
Secondary e-mail addresses: service@lgplaw.com

LIEBLER, GONZALEZ & PORTUONDO
Courthouse Tower - 25'" Floor, 44 West Flagler Street, Miami, FL 33130 (305) 379-0400
Case 3:23-cv-00940-TJC-JBT Document 1-1 Filed 08/10/23 Page 42 of 50 PagelD 48

CASE NO.: 16-2023-CA-009471-XXXX-MA
DIVISION: CV-G

LIEBLER, GONZALEZ & PORTUONDO
Counsel for Defendant

Courthouse Tower - 25" Floor

44 West Flagler Street

Miami, FL 33130

(305) 379-0400

By:/s/ Andrew Kemp-Gerstel
ANDREW KEMP-GERSTEL
Florida Bar No. 0044332
MICHAEL D. STARKS
Florida Bar No. 0086584

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 27" day of July, 2023, I electronically filed the foregoing with
the Clerk of Courts by using the Florida Courts E-filing Portal and will send a notice of electronic
filing to the following via US Mail: Michael J. Roberts, 3568 Valencia Road, Jacksonville, FL

32205 at mjrchicago@gmail.com.

/s/ Andrew Kemp-Gerstel
ANDREW KEMP-GERSTEL

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LIEBLER, GONZALEZ & PORTUONDO
Courthouse Tower - 25" Floor, 44 West Flagler Street, Miami, FL 33130 (305) 379-0400
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Filing # 17 8831254 E-Filed 08/03/2023 09: AM

IN THE CIRCUIT COURT OF THE
FOURTH JUDICIAL CIRCUIT IN AND FOR
DUVAL COUNTY, FLORIDA

MICHAEL J. ROBERTS, CASE NO.: 16-2023-CA-009471-XXXX-MA
DIVISION: CV-G
Plaintiff(s),
v.

CAPITAL ONE FINANCIAL CORP.,

Defendant(s).
/

DEFENDANT’S MOTION FOR EXTENSION
OF TIME TO FILE RESPONSE TO COMPLAINT

Defendant, CAPITAL ONE, N.A., improperly named as “CAPITAL ONE FINANCIAL,
CORP.” (“Defendant”), through undersigned counsel, pursuant to Florida Rule of Civil Procedure
1.090(b)(1)(A), respectfully requests the Court to enter an order extending the time allowed for
Defendant to respond to Plaintiff's Complaint, and state as grounds:

1. On July 14, 2023, the registered agent for Defendant received the Complaint.

2. The deadline to respond to the Complaint is August 3, 2023.

3; Undersigned counsel was recently retained to represent the Defendant herein and
today filed a Notice of Appearance.

4. In order to evaluate the factual allegations stated in the Complaint, research
Defendant’s records, and determine the circumstances involved, Defendant and undersigned
counsel require additional time to prepare and respond to the Complaint.

5. The foregoing Motion is filed in good faith and not for dilatory or other improper
purpose and no party will be prejudiced by the relief sought herein.

6. The time for response has not expired, and cause has been shown herein.

WHEREFORE, Defendant respectfully requests that this Court enter an Order extending

the time allowed for the Defendant to respond to Plaintiff's Complaint.

LIEBLER, GONZALEZ & PORTUONDO
Courthouse Tower - 25'" Floor, 44 West Flagler Street, Miami, FL 33130 (305) 379-0400
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CASE NO.: 16-2023-CA-009471-XXXX-MA
DIVISION: CV-G

LIEBLER, GONZALEZ & PORTUONDO
Counsel for Defendant

Courthouse Tower - 25" Floor

44 West Flagler Street

Miami, FL 33130

(305) 379-0400

By:/s/ Andrew Kemp-Gerstel
ANDREW KEMP-GERSTEL
Florida Bar No. 0044332
MICHAEL D. STARKS
Florida Bar No. 0086584

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 3rd day of August, 2023, I electronically filed the
foregoing with the Clerk of Courts by using the Florida Courts E-filing Portal and will send a
notice of electronic filing to the following via US Mail: Michael J. Roberts, 3568 Valencia Road,
Jacksonville, FL 32205 at mjrchicago@gmail.com.

/s/ Andrew Kemp-Gerstel
ANDREW KEMP-GERSTEL

om
LIEBLER, GONZALEZ & PORTUONDO
Courthouse Tower - 25" Floor, 44 West Flagler Street, Miami, FL 33130 (305) 379-0400
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Filing #

IN THE CIRCUIT COURT, FOURTH
JUDICIAL CIRCUIT, IN AND FOR
DUVAL COUNTY, FLORIDA

CASE: 2023-CA-009471
DIVISION: CV-G

MICHAEL J. ROBERTS,
Plaintiff,

vs

CAPITAL ONE FINANCIAL CORP.,
A Delaware Corporation,

Defendant.

PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION FOR EXTENSION OF TIME
TO FILE RESPONSE TO PLAINTIFF’S COMPLAINT

Plaintiff, MICHAEL J. ROBERTS, responds to Defendant, CAPITAL ONE, N.A.,
Motion For Extension of Time To File Response to Plaintiff’s Complaint pursuant to Florida
Rule of Civil Procedure 1.090(b)(1)(A) as follows:

1. Defendant was served with Plaintiff's Complaint through its Registered Agent on July

14, 2023 with counsel filing their Appearance on July 27, 2023 making a responsive

pleading due August 3, 2023;

2. Atno time has Defendant attempted to contact Plaintiff to request an extension of time by
agreement, which Plaintiff would have happily consented to. Instead, Defendant requests
an extension of time hours before the responsive pleading is due claiming more time is

needed to research the Complaint.
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3. Though an extension of time to respond is routine, it also must be requested in good faith.
Though Defendant may in fact need more time to research the Complaint before
responding, this was surely known more than a few hours prior to the responsive pleading
being due.

4. Defendant further fails to state how long an extension of time is requested. Again,
recognizing it is routine to leave the time period open-ended, it is also a commonly used
delay tactic to request an extension of time to respond then, at the last minute, remove the
matter to federal court.

5. Plaintiff requests that if an extension of time is granted to Defendant, the date to file a
responsive pleading be prior to the removal deadline of August 13, 2023.

WHEREFORE, the Plaintiff, MICHAEL J. ROBERTS, requests that Defendant’s extension of

time to respond be limited to on or before August 10, 2023.

Michael, Jf. Pocborls

Michael J. Roberts
Plaintiff (pro-se)

3568 Valencia Rd.
Jacksonville, FL 32205
(312) 687-6771

mjrchicago@gmail.com

Under penalties of perjury, I declare that I have read the foregoing, and the facts alleged are true,

to the best of my knowledge and belief.

Michael, J Roberts
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 3rd day of August, 2023, I electronically filed the foregoing
with the Clerk of Courts by using the Florida Courts E-filing Portal and will send a notice of
electronic filing to Andrew Kemp-Gerstel, Counsel for Defendant, LIEBLER, GONZALEZ &
PORTUONDO, Courthouse Tower - 25tn Floor 44 West Flagler Street. Miami, FL 33130 at

akg@Ilgplaw.com
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Filing #

IN THE CIRCUIT COURT, FOURTH
JUDICIAL CIRCUIT, IN AND FOR
DUVAL COUNTY, FLORIDA

CASE: 2023-CA-009471
DIVISION: CV-G

MICHAEL J. ROBERTS,
Plaintiff,

vs

CAPITAL ONE FINANCIAL CORP.,
A Delaware Corporation,

Defendant.

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TO FILE RESPONSE TO PLAINTIFF’S COMPLAINT

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Motion For Extension of Time To File Response to Plaintiff’s Complaint pursuant to Florida
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responsive pleading be prior to the removal deadline of August 13, 2023.

WHEREFORE, the Plaintiff, MICHAEL J. ROBERTS, requests that Defendant’s extension of

time to respond be limited to on or before August 10, 2023.

!s/ Michael J. Roberts
Plaintiff (pro-se)

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Jacksonville, FL 32205
(312) 687-6771

mjrchicago@gmail.com

Under penalties of perjury, I declare that I have read the foregoing, and the facts alleged are true,
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/s/ Michael J. Roberts
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 4th day of August, 2023, I electronically filed the foregoing
with the Clerk of Courts by using the Florida Courts E-filing Portal and will send a notice of
electronic filing to Andrew Kemp-Gerstel, Counsel for Defendant, LIEBLER, GONZALEZ &
PORTUONDO, Courthouse Tower - 25tn Floor 44 West Flagler Street. Miami, FL 33130 at

akg@Ilgplaw.com
